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Case 3:18-mj-OO715-BK Docum

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AO 91 (Rev. ll/ll) Criminal Complaint - L

UNITED STATES DISTRICT (§oUR'r ncr 0 2013

for the

Northem District of Texas C § §§ vii U S DlSTR:®YT
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United States of America )
V. )
Helen Kim(1) ) CaSeNO- 3` 131\/\3' 'l 15 BC
Daniel lviendoza Jr. (2) §
)
)
Defendant(s)
CRIMINAL COMPLAINT
I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of September 7 - October 30, 2018 in the county of in the
Northern District of Texas , the defendant(s) violated:
COa'e Section O]jfense Descrl`ption
18 U.S.C. § 1952(a)(3) and 2 Helen Kim and Daniel Mendoza Jr., as principals and aiders and abettors, did

use a facility in interstate and foreign commerce With the intent to promote
and carry on an unlawful activity, that is a business enterprise involving
prostitution in violation of Texas Pena| Code Sec. 43.03, and thereafter
performed and attempted to perform an act that promoted and established
the unlawful activity, in violation of 18 U.S.C. § 1952(a)(3) and 2.

This criminal complaint is based on these facts:

See attached Affidavit

d Continued on the attached sheet.

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// Complainant s signature

Jay Darst, DPD Dete,`ctive

 

 

Printea’ name ana’ tle

Sworn to before me and signed in my presence

Date: /O zp

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/` v 'v/ l ydge’s signature§
City and State; Dal|as, Texas E HARR|S TOLIVER, U. S. l\/lagistrate Judge

Printed name and title

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AFFIDAVIT IN SUPPORT OF CRIMINAL COMPLAINT

I, Jay Darst, a Detective with the Dallas Police Department (DPD), being duly
sworn, depose and state:

l. I am currently employed as a certified peace officer commissioned by the
Dallas Police Department. I have been assigned to the Criminal Intelligence Unit since
2010. Prior to my assignment to the Criminal Intelligence Unit, I was assigned to the
Narcotics Division for six years. During my time as a Detective in the Criminal
Intelligence Unit and Narcotics Division, I have investigated various types of criminal
organizations l hold a Master Peace Officer’s license from the Texas Commission on
Law Enforcement (TCOLE).

2. l have experience investigating violations of the Texas Health and Safety
Code, Texas Penal Code and equivalent federal offenses These investigations have
involved: obtaining and executing search warrants, interviewing and working with
confidential informants, the detecting and identifying various narcotics and other
dangerous drugs and acting in an undercover capacity. l have participated in both open and
covert surveillance including conventional as well as electronic surveillance l have
received training in electronic surveillance, and l have assisted in many operations locating
and arresting federal, state and local fugitives. l have received training in and assisted with
investigations involving human trafficking, including sex trafficking, and have consulted
with, before and during this case, with investigators who focus primarily on investigating

human trafficking offenses under state and federal law.

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3. l am an “investigative or law enforcement officer of the United States” within
the meaning of 18 U.S.C. § 2510(7); that is, l am an officer of the United States who is
authorized by law to conduct investigations and make arrests for offenses enumerated in
18 U.S.C. § 1952 (a)(3), namely Use of Facility of Interstate Commerce in Aid of
Racketeering

4. This affidavit is offered for the limited purposes of supporting a criminal
complaint charging DANIEL MENDOZA JR. and HELEN KIM of Use of Facility of
Interstate Commerce in Aid of Racketeering (Prostitution) in violation of 18 U.S.C. §§
1952 (a)($) and 2, and therefore does not include all information known to me regarding
the investigation

PROBABLE CAUSE

5. In or around August of 2018, a Dallas Police Department Confidential
Informant (CI) assisted the Dallas Police Department in identifying a source of cocaine,
DANIEL MENDOZA JR. Dallas Police Department undercover detectives conducted
two controlled cocaine purchases from MENDOZA. Around that same timeframe, the CI
advised me that he learned from DANIEL MENDOZA JR. that MENDOZA’s mother,
HELEN KIM operated a prostitution operation in Dallas, Texas. Under the direction of
law enforcement, the CI advised MENDOZA that he had business clients coming into
town and asked if MENDOZA could procure at least eighteen girls to engage in
commercial sex acts with the CI’s clients. In response, MENDOZA told the CI that he

could provide as many girls as needed for this purpose.

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6. On September 7, 2018, the Affiant organized an operation for a meeting
between the CI and MENDOZA. The meeting occurred at the Hooters restaurant located
at 2201 N Lamar Street in Dallas, Texas, and it was audio and video recorded. The CI
picked MENDOZA up at work and drove him to Hooters. During this meeting
MENDOZA agreed to provide the CI with eighteen girls for commercial sex on a later
agreed upon date The CI and MENDOZA also discussed the specifics, including the
ethnicities of the girls.

7. The CI, at the direction of law enforcement, also had several additional
meetings with MENDOZA, to further finalize the plans for the delivery of women for
commercial sex, that are detailed below. Each of those meetings was recorded.

8. On September 14, 2018, the CI and MENDOZA met at the 54th Street
Drafthouse located at 1850 Market Place Boulevard in Irving, Texas. The CI and
MENDOZA discussed the likely price KIM would charge to provide the girls to the CI
for commercial sex purposes. MENDOZA asked the Cl if his customers were going to
want to have sex with the girls more than once, and he stated the girls usually cost between
$250-$3 00 in the massage parlors, but there will most likely be an additional fee since the
girls will be going to a hotel. MENDOZA asked the CI if any of the clients would be
wanting cocaine, Cialis, or Viagra. MENDOZA also claimed to have seen a picture of
one of the girls and she looked like “a little K Pop Asian girl.”

9. Then, on September 20, 2018, the CI and MENDOZA met again at the 54th
street Drafthouse located at 1850 Market Place Boulevard in Irving, Texas. MENDOZA

advised that he should know by that evening how many girls he could get for the CI’s

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event, but that MENDOZA requested twenty girls that would be there for four hours.
MENDOZA stated that the girls usually make about S200/hour, but it would probably cost
around $600/hour for each girl because it is offsite and they are such a large group.
According to MENDOZA, that price includes “doing it more than once.” MENDOZA
then offered to bring drugs to the event and said he would send pictures of some of the
girls. While talking to the CI, MENDOZA made a joke about the girls bringing “a douche”
to the event so they could clean up. The CI asked MENDOZA to have the girls bring
condoms to the hotel, and MENDOZA agreed.

10. On September 26, 2018, the CI placed a consensually-recorded telephone
call to MENDOZA. MENDOZA stated that his mother, KIM, and KIM’s friends, would
be the source of the supply of the twenty girls, and they have been in this business for over
thirty years. According to MENDOZA, KIM offered to provide a karaoke room for the
Cl to use instead of a hotel, which would make the price cheaper, According to
MENDOZA, KIM stated that the price would be two thousand dollars ($2,000) per girl
for a total of forty thousand dollars ($40,000) if the event happened at a hotel.

ll. On Gctober 2, 2018, the CI and an undercover Dallas Police Department
Detective (UC Detective) met with MENDOZA at the 54th street Drafthouse located at
1850 Market Place Boulevard in lrving, Texas. The UC Detective was introduced to
MENDOZA by the CI as a business partner. MENDOZA advised the UC Detective and
the CI that everything was coming along and proposed the date of October 29th for the
commercial sex transaction. MENDOZA also advised that the UC Detective and the Cl

need to find a hotel for the clients and the girls. MENDOZA again referred to his mother,

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KIM, as the organizer, stated that KIM would need money upfront, and that the cost of
twenty girls would be $2,000 a girl, for a total of $40,000. MENDOZA further stated that
KIM would want half of the money up front and that KIM would want to inspect the hotel
before bringing the girls. At the conclusion of the meeting, MENDOZA explained that
“the way this is set up, it could be considered human trafficking.” Between October 2,
2018, and October 5, 2018, the Cl and MENDOZA negotiated the upfront payment for
KIM providing the girls down to $5,000.

12. On October 5, 2018, the Cl went to the Starbucks located at 7979 N
MacArthur Boulevard in Irving, Texas to provide the upfront payment to KIM and
MENDOZA. The CI was introduced to KIM by MENDOZA, and the CI thanked KIM
for organizing all the girls for the Cl’s event with his clients. The CI placed an envelope
containing $5,000 in front of KIM. KIM left the table to order a drink, and MENDOZA
and the Cl discussed the event and KIM. MENDOZA explained that KIM would get
things going for the CI and that KIM would probably want more money a couple of days
before the event. MENDOZA and the Cl discussed that MENDOZA was acting as a
customer service representative for KIM in relation to the transaction, and further
discussed the CI going to see the girls at one of the massage parlors or spas. KIM returned
to the table and took possession of the envelope and the CI again thanked KIM. KIM
provided the Cl with her cellular phone number, and KIM also advised the Cl that she
would want to see the hotel that would be used for the event so that she would know that
it was safe for the girls. The CI, KIM, and MENDOZA discussed a future trip for the CI

to view one of KIM’s spas.

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13. On October 10, 2018, the CI recorded a call with KIM. KIM and the CI
discussed “seeing some of the girls” before the planned date. The CI referred to the need
for his clients to be satisfied, and KIM responded by discussing what she could do to make
the transaction more convenient for the CI and his clients, including providing pictures of
the girls to the CI or allowing the CI and his/her partner to meet some of the girls before
the transactions so that they could verify what they look like KIM and the Cl discussed
texting each other later. KIM specifically stated that she would text the Cl. Relevant
portions of that call_which involved cellular phones, which are facilities of interstate
commerce_have been transcribed and are reflected below:

Cl: Ones that are actually going to be there on November lst. And uh is there any
way we can meet them? Or just see or say..l don’t need to talk to them l just want
to see them.
KIM: Okay l want to explain today, okay. lt’s okay to see people, but l know it’s
gonna be Chip is gonna be there hhmm. I’m just gonna go try to take a picture of
them so you know which girl gonna be there okay that’s number 1. l can show
there lt’s like yoga, you just want to meet them. lt’s like a meeting then I show you
when the meeting something You know it’s their time to work. If I call them out to
something or (word not clear) l can say, you can just meet there you know to talk
about it or if l don’t know what you want. You wanna like staying with them before
the couple then describe that they’re working its like to them. l cannot just call them
just for the fee just with somebody. You know what l mean?

Cl: Oh okay

KIM: That’s how l mention to Danny. So if l know you just want to curious about

which kind a girl who’s gonna show up there I’m gonna take a picture of it paper l

know who. So l’m thinking right now picking somebody like a better looking

CI: Danny said you’ve been working very hard so thank you

KIM: yeah because it’s a lot of girls right. You know you cannot just show, it’s like
a, he said, “no mom, no fat girl or whatever”, yeah you cannot just show anybody

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like a woman just be there has to be much look better. That’s why I’m picking on it
right now.

CI: I’ll text you later tonight just say so we can have a time and idea. And then
we’ll take it from there Will that work? F or like maybe next week?

KIM: That’ll give still maybe no I can think it does picture of who’s gonna be
show up there

CI: Okay. l would definitely picture I think Alex and l would love to meet one of
the girls. Just to meet them. We don’t have to do anything. l just want to meet
them and say hi you know something like that.

KIM: Either one, either one. Or try meet yeah, try meet. Gh yeah you can just
meet them whatever, karaoke place, yeah you can just drink whatever. Another
time maybe some girl like you say then I’ll let you know.

CI: Okay. Well then do you want me to text you for the schedule then? What time
would be a good time to meet them? Because l need to coordinate with Alex as
well.

KIM: Guess what? I’ll have to talk to them first see what time is convenient for
them.

Cl: Okay we’ll just follow up with you and see if you have the time

KIM: Yeah l think its much better so they can because I don’t want you know
catch their time to be you know..

CI: Okay well hey, thank you so much. Thank you for clarifying that.
KIM: You are welcome Okay bye

14. On October 16, 2018, the CI and the UC Detective met with KIM at the
Korea House Sushi Bar located at 2598 Royal Lane in Dallas, Texas. The Cl and the UC
Detective entered the restaurant and met with KIM in a private room. The CI introduced
the UC Detective to KIM as his business partner. KIM had three unidentified Asian

females at the location to provide company to the Cl and the UC Detective KIM advised

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the UC Detective and the CI that the event would take place on November 1, 2018, and she
would provide the girls from 8:00 P.M. to 12:00 A.l\/I. KIM and the UC Detective also
discussed pairing the girls up at the hotel with the UC Detective’s clients, and again stated
that she wanted know what hotel they would be using. KIM provided her phone number
to the UC Detective and acknowledged that the clients would be having sex with the girls
that KIM provides. The UC Detective eventually asked one of the unidentified Asian
females that was in the room if they would be going to the hotel on the night, and KIM
responded that all three girls would be attending.

15. On October 24, 2018, the UC Detective met KIM at the 54th Street Drafthouse
located at 1850 Market Place Boulevard in Irving, Texas. KIM told the UC Detective that
she has arranged for twenty-five girls to attend the event in case some of the girls get sick
and back out. KIM asked the UC Detective if he would be able to pay for the extra girls
if they showed up. KIM further stated that the girls would meet at her store at 7:00 P.M.
and then they would leave in four cars at 7:30 P.M. to arrive at the hotel at 8:00 P.M. The
UC Detective asked KIM if his clients would be receiving the “girlfriend experience.” The
Affiant knows through his training and experience, and in consultation with other
investigators of human trafficking, that the “girlfriend experience” in the commercial sex
realm refers to sex without a condom, and that kissing is allowed during the commercial
sex encounter. KIM affirmed that the “girlfriend experience” is included. The UC
Detective also asked KIM if “Greek” is included. The Affiant knows through his training
and experience and in consultation with other investigators of human trafficking, that

“Greek” refers to anal sex. KIM responded that it was not, and that “Greek” is what men

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do to each other. KIM and the UC Detective became involved in a conversation where the
word sex was used. KIM advised the UC Detective that she did not like to use the word
sex and instead wanted to refer to it as “love” KIM insisted to the UC Detective that his
clients should not talk about this event and this event needs to remain a secret because if it
got out things would be bad for her.

16. The Affiant has assisted in operations outside of this investigation in which
this CI provided information to law enforcement The Affiant has found the CI’s
information to be true, reliable and credible on these occasions.

CONCLUSION

17. Based on the foregoing facts, probable cause exists to believe that beginning
on or about September 7 , 2018, and continuing through the date of the instant complaint,
within the Northern District of Texas - Dallas Division, and elsewhere DANIEL
MENDOZA and HELEN KIM, as principals and as aiders and abettors, along with others
both known and unknown, did use a facility in interstate and foreign commerce namely
cellular phones and others, with the intent to promote, manage, establish, carry on, and
facilitate the promotion, management, establishment and carrying on of an unlawful
activity, that is a business enterprise involving prostitution in violation of Texas Penal Code

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Sec. 43.03, and thereafter performed and attempted to perform an act that did promote,
manage, establish, carry on, and facilitate the promotion, management, establishment,

and carrying on of the unlawful activity, in violation of 18 U.S.C. § 1952(a)(3) and 2.

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Detecstyl:"e J ay Darst
Dalla Police Department

 

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Subscribed and sworn to before me on this ' \‘ l /}/ day of Oc 0 er

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H\`|'N. RE EE A' ’ TOLIVE`
! TATES AGISTRAT »JUDGE
NORTHERN DISTRICT OF T ‘ S

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